417 F.2d 971
    2 Fair Empl.Prac.Cas.  271, 2 Empl. Prac. Dec.P 10,136Dominick SAFFIOTI, Plaintiff-Appellant,v.Martin P. CATHERWOOD, as Industrial Commissioner of theState of New York, Defendant-Appellee.
    No. 222, Docket 33764.
    United States Court of Appeals Second Circuit.
    Argued Nov. 4, 1969.Decided Nov. 4, 1969.
    
      Dominick Saffioti, Newburgh, N.Y., appellant, pro se.
      Robert S. Hammer, Asst. Atty. Gen., Samuel A. Hirshowitz, First Asst. Atty. Gen., Louis J. Lefkowitz, Atty. Gen. of New York, for defendant-appellee.
      Before WATERMAN, FRIENDLY and SMITH, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks money damages for alleged violations of his constitutional rights, 42 U.S.C. 1983, 1985.  He maintains that these rights were in some way denied to him in connection with certain administrative proceedings conducted by the Division of Employment Security of the New York State Department of Labor.  In accord with the holding of the trial judge below, Judge Bonsal of the United States District Court for the Southern District of New York, 305 F.Supp. 989, we find that appellant received due process in compliance with the requirements of state law, and that there is no merit to his claims that he has suffered the loss of any federal constitutional protection.
    
    
      2
      We affirm the judgment below on the opinion of Judge Bonsal.
    
    